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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


KEVIN WHITE,

                      Plaintiff.

v.                                                           Case no. 2:21-cv-00113-RAJ-RJK

GULF HARBOUR INVESTMENTS,                                    Removed from the Circuit Court
CORPORATION., et al.,                                        of Virginia Beach, Virginia
                                                             Case No. CL21000783-00
                      Defendants.

              NOTICE OF APPEARANCE OF ALISON WICKIZER TOEPP

       To the Clerk of this Court and all the parties of record:

       Please note the appearance of Alison Wickizer Toepp as counsel in the above-styled case

for Defendant, Wells Fargo Bank, N.A. I certify that I am admitted to practice in this Court.

Dated: April 15, 2021                         Respectfully submitted,
                                              WELLS FARGO BANK, N.A.

                                              /s/ Alison Wickizer Toepp
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of April, 2021, I have electronically filed the

foregoing using the CM/ECF system, which will automatically send e-mail notification of such

filing to all counsel of record, including the following:

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